        Case 2:21-cv-03500-MAK Document 652 Filed 11/23/22 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VALUE DRUG COMPANY                           : CIVIL ACTION
                                             :
                    v.                       : NO. 21-3500
                                             :
TAKEDA PHARMACEUTICALS,                      :
U.S.A., INC., PAR                            :
PHARMACEUTICAL, INC., WATSON                 :
LABORATORIES, INC., TEVA                     :
PHARMACEUTICAL INDUSTRIES,                   :
LTD., TEVA PHARMACEUTICALS                   :
USA, INC., AMNEAL                            :
PHARMACEUTICALS, LLC                         :


                                         ORDER
       AND NOW, this 23rd day of November 2022, upon considering Plaintiff’s Motion to

certify a class (ECF Doc. No. 483), Defendants’ Response (ECF Doc. No. 527), Plaintiff’s Reply

(ECF Doc. No. 543), the parties’ pre-hearing Memoranda (ECF Doc. Nos. 592, 593), following

our extensive November 1, 2022 evidentiary hearing and oral argument, and for reasons in the

accompanying Memorandum, it is ORDERED Plaintiff’s Motion to certify a class (ECF Doc.

No. 483) is DENIED without prejudice.



                                                  _________________________
                                                  KEARNEY, J.
